                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  DEE ANNE REYNOLDS,                        )
                                            )
                Plaintiff,                  )
                                            )
  v.                                        )      No. 3:15-cv-265
                                            )
  KNOX COUNTY GOVERNMENT,                   )
  et al.,                                   )
                                            )
                Defendants.                 )

                               MEMORANDUM AND ORDER

        As the record reflects, defendants Knox County and the Knoxville/Knox County

  Metropolitan Planning Commission made an Offer of Judgment to plaintiff Dee Anne

  Reynolds, which she timely accepted [Doc. 58]. Accordingly, and pursuant to the explicit

  direction of Fed. R. Civ. P. 68(a), the Clerk of Court entered Judgment on August 23, 2016,

  as follows:

                The court has ordered that: The Plaintiff Dee Anne Reynolds recover from
                the Defendant, Knox County and Knoxville/Knox County Metropolitan
                Planning Commission the amount of Eight Hundred Thousand Dollars
                ($800,000.00).

  [Doc. 59].

         Defendant Knox County now moves the Court to correct the Judgment pursuant to

  Fed. R. Civ. P. 60(a) or, alternatively, Fed. R. Civ. P. 60(b)(1). Knox County complains

  that the Judgment does not reflect the parties’ “settlement” and does not incorporate the

  provision that the Offer of Judgment would “not … be construed either as an admission of

  liability or that the Plaintiff has suffered any damages.” According to Knox County, the



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  inclusion of this language would “enable Knox County to effectively assert in subsequent

  litigation that the judgment in this case resulted from a Rule 68 Offer of Judgment, and

  was a compromise and settlement of a disputed claim, rather than a finding of this Court

  that Knox County was liable to the plaintiff” [Doc. 60 at p. 3]. Knox County points out

  that Rule 68 permits a defendant to “offer to allow judgment on specified terms” and that

  the “specified terms” of its offer should be included in the language of the Judgment to

  effectuate the intent of the parties [Id. at p. 4].

         Plaintiff opposes Knox County’s motion because there is nothing in the Judgment

  to correct and Knox County’s proposed language would constitute a substantive change to

  the Judgment, for which Rule 60(a) relief is not available [Doc. 61]. Plaintiff also

  persuasively argues that a Rule 68 Offer of Judgment is different from a settlement

  agreement, which the parties did not enter into. Further, plaintiff correctly notes that the

  non-admission language sought by Knox County refers to the “Offer of Judgment” not

  being an admission, rather than the Judgment itself. See Doc. 58-1 (“this offer is not to be

  construed either as an admission of liability or that the Plaintiff has suffered any damages”).

         In reply [Doc. 62 at p. 1], Knox County contends it is simply asking the Court to

  “conform the Judgment to the agreement of the parties as reflected in the Rule 68 offer and

  acceptance.” Knox County further suggests that failure to incorporate the basis for the

  Judgment and the “specified terms” of the Rule 68 offer into the Judgment “could possibly

  defeat the intent of the parties” [Id. at p. 4].

         Rule 60(a) allows the Court to “correct a clerical mistake or a mistake arising from

  oversight or omission whenever one is found in a judgment, order, or other part of the
                                                     2

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  record.” Fed. R. Civ. P. 60(a). As the Sixth Circuit has explained, Rule 60(a) is intended

  to correct “clerical mistakes” as a result of “blunders in execution,” In re Walter, 282 F.3d

  434, 440–41 (6th Cir. 2002), but it cannot be used to alter the “substantive rights of the

  parties” in a manner different from what was intended when the judgment was entered.

  Keeley v. Grider, 590 F. App'x 557, 559–60 (6th Cir. 2014) (the typical use of Rule 60(a)

  is to correct typographical errors in judgments, to complete an errantly omitted “ministerial

  task,” or to correct an order that does not accurately reflect the issuing court's intent)

  (internal citations omitted). Rule 60(a) is not a means to “rewrite” the past; it merely

  “allows a court to correct records to show what was done, rather than change them to reflect

  what should have been done.” Id. (quoting Blue Cross & Blue Shield Ass’n v. Am. Exp.

  Co., 467 F.3d 634, 637 (7th Cir. 2006)).

         Rule 60(b)(1) permits a court to “relieve a party” from a final judgment for “mistake,

  inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b)(1). “[T]he party

  seeking relief under Rule 60(b) bears the burden of establishing the grounds for such relief

  by clear and convincing evidence.” Info-Hold, Inc. v. Sound Merch., Inc., 538 F.3d 448,

  454 (6th Cir. 2008). Relief under Rule 60(b)(1) is available in only two instances: “(1)

  when the party has made an excusable litigation mistake or an attorney in the litigation has

  acted without authority; or (2) when the judge has made a substantive mistake of law or

  fact in the final judgment or order.” Cacevic v. City of Hazel Park, 226 F.3d 483, 490 (6th

  Cir. 2000).

         The Court finds that there is no clerical or typographical error in the Judgment to be

  corrected, nor was there a “blunder” in executing the terms of the accepted Offer of
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  Judgment. The Judgment accurately reflects the offer which plaintiff accepted, i.e., that

  “judgment [of $800,000] …be entered in favor of the Plaintiff on all issues raised by her

  in the Third Amended Complaint.” Further, there is no evidence that either party has made

  an excusable litigation mistake, that an attorney in the litigation has acted without authority,

  or that the Judgment contains a substantive mistake of law or fact. Accordingly, the Court

  finds that Knox County is not entitled to relief under either Rule 60(a) or Rule 60(b)(1).

  The Court declines to comment further or opine on the nature of judgments entered

  pursuant to accepted Rule 68 offers or the impact of the Judgment in the instant case in any

  other litigation.

         For all the foregoing reasons, defendant Knox County’s motion [Doc. 60 is

  DENIED.

         IT IS SO ORDERED.



                                        s/ Thomas W. Phillips
                                      SENIOR UNITED STATES DISTRICT JUDGE




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